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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                v.                            :       Case No. 23-cr-069-CKK
                                              :
ISAAC THOMAS,
CHRISTINA LEGROS,                             :
                                              :
                                              :
                        Defendants.           :



                UNITED STATES’S MOTION TO EXCLUDE TIME UNDER
                      THE SPEEDY TRIAL ACT, 18 U.S.C. § 3161

        The United States, by and through its attorney, the United States Attorney for the District

of Columbia, moves this Court to exclude the time with which the trial must commence under 18

U.S.C. § 3161(c)(1), pursuant to section (h)(4) and (6), because Defendant Christina Legros is

physically unable to stand trial.

        Counsel for Defendant Legros provided this Court with information in ECF 14 that Ms.

Legros was currently hospitalized, and counsel is unable to make contact with her given her

condition. Any time that she is hospitalized should be excluded under § 3161(h)(4) given that she

is physically unable to stand trial.

        Further, in § 3161(c)(1) the applicable period begins, “[i]n any case in which a plea of not

guilty is entered . . ..” (emphasis added). Trial must then commence, “within seventy days from

the filing date (and making public) of the information or indictment, or from the date the defendant

has appeared before a judicial officer of the court in which such charge is pending, whichever date

last occurs.” (emphasis added).
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       Here, the indictment was filed on March 11, 2023, “within thirty days from the date on

which [Ms. Legros] was arrested . . ..” See § 3161(b). But until she is able to appear to enter a plea

of not guilty, the 70-day period will not begin to run. However, she is not the only defendant joined

under the same caption.

       The Court should also exclude the period of delay for Defendant Isaac Thomas following

his arraignment on the indictment under § 3161(h)(6) because he is joined together with

codefendant Christina Legros, whose time for trial will not have yet run given her hospitalization.

Given the recency of both cases in this Court, the exclusion as to both is reasonable under the

factual circumstances.



                                       Respectfully Submitted,

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